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 6                        UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7
     UNITED STATES OF AMERICA,                            NO. CR15-348-RSL
 8

 9                                 Plaintiff,

10          v.
                                                          DETENTION ORDER
11   DARREN KEIL,
12
                                   Defendant.
13

14   Offense charged:
15          Count 1:      Conspiracy to Distribute Controlled Substances
16   Date of Detention Hearing: November 16, 2015
17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
18   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
19
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
20          1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
21                  defendant is a flight risk and a danger to the community based on the nature of
22                  the pending charges. Application of the presumption is appropriate in this case.
23          2.      Defendant was not interviewed.
24          3.      Defendant has stipulated to detention, but reserves the right to contest his
25                  continued detention if there is a change in circumstances.
26


     DETENTION ORDER
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           4.    There are no conditions or combination of conditions other than detention that
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                 will reasonably assure the appearance of defendant as required or ensure the
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                 safety of the community.
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           IT IS THEREFORE ORDERED:
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           (1)   Defendant shall be detained and shall be committed to the custody of the
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                 Attorney General for confinement in a correction facility separate, to the extent
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                 practicable, from persons awaiting or serving sentences or being held in custody
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                 pending appeal;
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           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
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                 counsel;
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           (3)   On order of a court of the United States or on request of an attorney for the
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                 government, the person in charge of the corrections facility in which defendant
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                 is confined shall deliver the defendant to a United States Marshal for the
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                 purpose of an appearance in connection with a court proceeding; and
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           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
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                 counsel for the defendant, to the United States Marshal, and to the United States
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                 Pretrial Services Officer.
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           DATED this 17th day of November, 2015.


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                                                JAMES P. DONOHUE
21                                              Chief United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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